                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES                               :
                                            :
     v.                                     :           Case No. RDB-17-0288
                                            :
NATHANIEL THOMAS OAKS                       :
                                            :
     Defendant                              :


                                   MOTION TO SEAL

          The Defendant Nathaniel Thomas Oaks, through his undersigned counsel, hereby

 moves this Court for leave to file under seal his Supplemental Sentencing Memorandum. The

 memorandum contains confidential health information.

       WHEREFORE, Nathaniel Thomas Oaks requests that this Court grant this motion

and place the Supplemental Sentencing Memorandum under seal.


                                         Respectfully submitted,

                                         JAMES WYDA
                                         Federal Public Defender for the District of Maryland

                                                 /S/

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